  Case 2:25-cv-00053-FMO-BFM               Document 139        Filed 05/12/25   Page 1 of 6 Page ID
                                                #:4917
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.          CV 25-0053 FMO (BFMx)                                 Date   May 12, 2025
 Title             Marc Wolstenholme v. Riot Games, Inc.




 Present: The Honorable           Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                  None                          None
                Deputy Clerk                      Court Reporter / Recorder             Tape No.
             Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                       None Present
 Proceedings:               (In Chambers) Order Re: Motion to Dismiss [80]

        Having reviewed and considered all the briefing filed with respect to Riot Games, Inc.’s
(“Riot” or “defendant”) Motion to Dismiss Second Amended Complaint, (Dkt. 80, “Motion”), the
court finds that oral argument is not necessary to resolve the Motion, see Fed. R. Civ. P. 78(b);
Local Rule 7-15, Willis v. Pac. Mar. Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001), and concludes
as follows.

                          BACKGROUND AND PLAINTIFF’S ALLEGATIONS1

        Marc Wolstenholme (“plaintiff” or Wolstenholme”), appearing pro se, filed his initial
complaint in state court, (see Dkt. 1-1, Complaint), which Riot removed on January 3, 2025. (See
Dkt. 1, Notice of Removal). After defendant filed a motion to dismiss, (see Dkt. 7), plaintiff filed
a First Amended Complaint (see Dkt. 11,“FAC”), and after defendant filed a motion to dismiss the
FAC, (see Dkt. 19), plaintiff filed the operative 1,218-page Second Amended Complaint (“SAC”),
asserting claims for: (1) copyright infringement, 17 U.S.C. § 501; (2) vicarious copyright
infringement; (3) violations of California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
§ 17200, et seq.; and (4) intentional infliction of emotional distress (“IIED”). (See Dkt. 58, SAC
at 4, 7-8).

        Plaintiff alleges that he owns the exclusive copyright to the manuscript, “Bloodborg: The
Harvest” (“Bloodborg”), which was created between 2018 and 2019. (See Dkt. 58, SAC at 2, 5).
He alleges that Riot “infringed his copyright by using the manuscript of ‘Bloodborg’ submitted to
Riot Forge, Curtis Brown Group, and others in 2019 and 2020 to create the animated series,
Arcane,” which premiered on Netflix in November 2021. (Id. at 2, 5). According to plaintiff,
Arcane and its promotional materials “derive narrative elements, themes, scenes, chapter/episode
titles, aesthetics, trauma writing, central premise, macro and micro details, actual writing
converted to visual mediums, expert skill depictions, distinct color usage, deeply nuanced motifs


         1
         Capitalization, quotation and alteration marks, and emphasis in record citations may be
altered without notation.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                            Page 1 of 6
  Case 2:25-cv-00053-FMO-BFM           Document 139        Filed 05/12/25     Page 2 of 6 Page ID
                                            #:4918
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       CV 25-0053 FMO (BFMx)                                 Date     May 12, 2025
 Title          Marc Wolstenholme v. Riot Games, Inc.

and allegories, symbolism, character arcs, character personalties and backstories, and more, from
plaintiff’s copyrighted work.” (Id. at 3); (see also id. at 5). Plaintiff alleges that “much of the
trauma writing in Bloodborg, alleged to have been reused in Arcane, is derived from plaintiff’s
fictionalized therapeutic journaling of his deeply complex personal trauma history both in and out
of the British Army.” (Id. at 3). Riot’s “misuse and monetization of Plaintiff’s trauma and deep
psychological exploration along with three years of bad faith negotiations and prolonged
litigations, and malicious communications, discrimination, intimidation and harassment via email
and other forms, alleged to have been sent by Riot employees, Fortiche Production employees
and the wider toxic cultural climate they foster, is alleged to have caused, and continues to cause
further emotional-psychological harm and suffering and financial burden on the plaintiff.” (Id. at
3); (see also id. at 6).

                                        LEGAL STANDARD

        A motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6) of the Federal
Rules of Civil Procedure2 should be granted if plaintiff fails to proffer “enough facts to state a claim
to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct.
1955, 1974 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 1949 (2009); Cook v.
Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011). “A claim has facial plausibility when the plaintiff
pleads factual content that allows the court to draw the reasonable inference that the defendant
is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678, 129 S.Ct. at 1949; Cook, 637 F.3d
at 1004; Caviness v. Horizon Cmty. Learning Ctr., Inc., 590 F.3d 806, 812 (9th Cir. 2010).
Although the plaintiff must provide “more than labels and conclusions, and a formulaic recitation
of the elements of a cause of action will not do,” Twombly, 550 U.S. at 555, 127 S.Ct. at 1965;
Iqbal, 556 U.S. at 678, 129 S.Ct. at 1949; see also Cholla Ready Mix, Inc. v. Civish, 382 F.3d 969,
973 (9th Cir. 2004) (“The court is not required to accept legal conclusions cast in the form of
factual allegations if those conclusions cannot reasonably be drawn from the facts alleged. Nor
is the court required to accept as true allegations that are merely conclusory, unwarranted
deductions of fact, or unreasonable inferences.”) (cleaned up), “specific facts are not necessary;
the [complaint] need only give the defendant fair notice of what the claim is and the grounds upon
which it rests.” Erickson v. Pardus, 551 U.S. 89, 93, 127 S.Ct. 2197, 2200 (2007) (per curiam)
(cleaned up); Twombly, 550 U.S. at 555, 127 S.Ct. at 1964.

       In considering whether to dismiss a complaint, the court must accept the allegations of the
complaint as true, Erickson, 551 U.S. at 94, 127 S.Ct. at 2200; Albright v. Oliver, 510 U.S. 266,
268, 114 S.Ct. 807, 810 (1994), construe the pleading in the light most favorable to the pleading
party, and resolve all doubts in the pleader’s favor. Jenkins v. McKeithen, 395 U.S. 411, 421,
89 S.Ct. 1843, 1849 (1969); Berg v. Popham, 412 F.3d 1122, 1125 (9th Cir. 2005). Pro se
pleadings are “to be liberally construed” and are held to a less stringent standard than those


         2
         All further “Rule” references are to the Federal Rules of Civil Procedure unless otherwise
indicated.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                                 Page 2 of 6
     Case 2:25-cv-00053-FMO-BFM        Document 139       Filed 05/12/25     Page 3 of 6 Page ID
                                            #:4919
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       CV 25-0053 FMO (BFMx)                                Date    May 12, 2025
 Title          Marc Wolstenholme v. Riot Games, Inc.

drafted by a lawyer. Erickson, 551 U.S. at 94, 127 S.Ct. at 2200; Haines v. Kerner, 404 U.S. 519,
520, 92 S.Ct. 594, 596 (1972) (per curiam); see also Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir.
2010) (“Iqbal incorporated the Twombly pleading standard and Twombly did not alter courts’
treatment of pro se filings; accordingly, we continue to construe pro se filings liberally when
evaluating them under Iqbal.”). “Dismissal under Rule 12(b)(6) is proper when the complaint
either (1) lacks a cognizable legal theory or (2) fails to allege sufficient facts to support a
cognizable legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). A complaint
may also be dismissed for failure to state a claim if it discloses some fact or complete defense
that will necessarily defeat the claim. See Franklin v. Murphy, 745 F.2d 1221, 1228-29 (9th Cir.
1984), abrogated on other grounds by Neitzke v. Williams, 490 U.S. 319, 109 S.Ct. 1827 (1989);
2 Moore’s Federal Practice § 12.34[4][b] (Matthew Bender 3d Ed.) (“Dismissal under Rule 12(b)(6)
. . . is also appropriate when a successful affirmative defense or other bar to relief on the claim
is conclusively established on the face of the complaint.”).

                                           DISCUSSION

I.       COPYRIGHT INFRINGEMENT.

       To state a claim for copyright infringement, plaintiff must plausibly allege two elements:
(1) ownership of a valid copyright; and (2) unlawful copying. See Feist Publ’ns, Inc. v. Rural Tel.
Serv. Co., Inc., 499 U.S. 340, 361, 111 S.Ct. 1282, 1296 (1991); Rentmeester v. Nike, Inc., 883
F.3d 1111, 1116-17 (9th Cir. 2018), overruled on other grounds by Skidmore ex rel. Randy Craig
Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) (en banc) (same). Unlawful copying
“contains two separate components: copying and unlawful appropriation.” Skidmore, 952 F.3d
at 1064 (cleaned up).

        Riot contends that plaintiff has failed to plausibly allege access. (See Dkt. 80, Motion at
16). The court agrees. “When the plaintiff lacks direct evidence of copying, he can attempt to
prove it circumstantially by showing that the defendant had access to the plaintiff's work and that
the two works share similarities probative of copying.” Rentmeester, 883 F.3d at 1117. “To prove
access, a plaintiff must show a reasonable possibility, not merely a bare possibility, that an alleged
infringer had the chance to view the protected work.” Loomis v. Cornish, 836 F.3d 991, 995 (9th
Cir. 2016) (internal quotation marks omitted).

        Here, plaintiff alleges that he submitted Bloodborg to “Riot Forge, Curtis Brown Group, and
others[.]” (Dkt. 58, SAC at 5); (see id. at 29) (alleging Bloodborg was submitted to “Literary, Film
and Gaming talent agencies,” and through “wide dissemination via email”). The SAC includes an
exhibit purporting to be a “Chronology of Wide Dissemination and Access of Bloodborg the
Harvest.” (See id. at 32); (Dkt. 58, Exh. B (“Chronology”) at 46-70). In his chronology, plaintiff
claims that he submitted Bloodborg to “Riot via their online portal.” (See Dkt. 58, Exh. B
(Chronology) at 48, 50). But the SAC does not identify the “online portal” or other information
regarding plaintiff’s alleged submissions. (See, generally, id.). The chronology also lists emails
that attached a copy of Bloodborg that plaintiff allegedly sent to various individuals and agencies.
CV-90 (06/04)                          CIVIL MINUTES - GENERAL                                Page 3 of 6
  Case 2:25-cv-00053-FMO-BFM            Document 139        Filed 05/12/25     Page 4 of 6 Page ID
                                             #:4920
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 25-0053 FMO (BFMx)                                  Date    May 12, 2025
 Title          Marc Wolstenholme v. Riot Games, Inc.

(See id. at 48-58). However, as defendant notes, (see Dkt. 80, Motion at 17-18), the SAC does
not allege a nexus between Riot and any individual or agency who allegedly received a copy of
Bloodborg. (See, generally, Dkt. 58, SAC); see, e.g., Loomis, 836 F.3d at 995 (access not shown
by “merely . . . showing bare corporate receipt of [subject] work by an individual who shares a
common employer with the alleged copier”) (internal quotation marks omitted).

         In his Opposition, plaintiff does not respond to defendant’s arguments regarding the SAC’s
deficient allegations relating to access. (See, generally, Dkt. 83, Plaintiff’s Opposition to
Defendant Riot Games, Inc.’s Motion to Dismiss the Second Amended Complaint (“Opp”) at 4-5).
Indeed, rather than directly addressing Riot’s contentions, plaintiff devotes the majority of his
Opposition to attacking Riot and its purported litigation conduct. (See Dkt. 83, Opp at 6-9, 13-15);
(id. at 12) (“Plaintiff has been the target of ongoing psychological abuse and harassment during
this litigation, including impersonations, discrimination, criminal threats, bomb threats, doxxing,
and child exploitation blackmail.”); (id. at 13) (“Plaintiff cannot get justice without court, CIA and
Government oversight into their behaviors. It is alleged that Riot Games poses a public risk and
a risk to the Plaintiff.”). Plaintiff’s failure to address defendant’s contentions regarding access is
tantamount to a concession on those issues. See GN Resound A/S v. Callpod, Inc., 2013 WL
1190651, *5 (N.D. Cal. 2013) (when plaintiff failed to oppose a motion as to a particular issue, “the
Court construes as a concession that this claim element [is] not satisfied];” Hall v. Mortg. Investors
Grp., 2011 WL 4374995, *5 (E.D. Cal. 2011) (“Plaintiff does not oppose Defendants’ arguments
regarding the statute of limitations in his Opposition. Plaintiff’s failure to oppose . . . on this basis
serves as a concession[.]”). Accordingly, the court will grant Riot’s Motion as to the copyright
infringement claim.

II.      VICARIOUS COPYRIGHT INFRINGEMENT.

        “[T]o succeed in imposing vicarious liability, a plaintiff must establish that [1] the defendant
exercises the requisite control over the direct infringer and that [2] the defendant derives a direct
financial benefit from the direct infringement.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d
1146, 1173 (9th Cir. 2007) (“Perfect 10 II”). Here, plaintiff has failed to plausibly allege that Riot
exercised the “requisite control” over Netflix or any other entity that may have directly infringed his
copyright. (See, generally, Dkt. 58, SAC at 1-42). Instead, the SAC alleges in one sentence that
Riot “had the ability to control and supervise the infringing conduct but failed to prevent it.” (Id.
at 7). However, “bare assertions” and “formulaic recitation of the elements” of a claim are “not
entitled to be assumed true.” Iqbal, 556 U.S. at 681, 129 S.Ct. at 1951 (internal quotation marks
omitted). Thus, the court will grant Riot’s Motion as to this claim.

III.     UCL.

        Because plaintiff’s UCL claim is based on Riot’s alleged copyright infringement (see Dkt.
58, SAC at 8) (“Defendant engaged in unlawful and unfair business practices by misappropriating
Plaintiff’s copyrighted material for commercial gain.”), and plaintiff has failed to state a claim for
infringement, his UCL claim fails. Moreover, given that both claims are premised on Riot’s alleged
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 4 of 6
  Case 2:25-cv-00053-FMO-BFM           Document 139        Filed 05/12/25     Page 5 of 6 Page ID
                                            #:4921
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.        CV 25-0053 FMO (BFMx)                                Date     May 12, 2025
 Title           Marc Wolstenholme v. Riot Games, Inc.

infringement, the UCL claim is preempted by the Copyright Act. See Davis v. Render, 2024 WL
5411327, *3 (C.D. Cal. 2024) (“Plaintiff's unfair competition law claim is based on Defendants’
alleged copyright infringement and based on rights equivalent to the rights protected by the
Copyright Act, and is therefore preempted.”).

IV.      IIED.

       Under California law, “a cause of action for intentional infliction of emotional distress exists
when there is (1) extreme and outrageous conduct by the defendant with the intention of causing,
or reckless disregard of the probability of causing, emotional distress; (2) the plaintiff’s suffering
severe or extreme emotional distress; and (3) actual and proximate causation of the emotional
distress by the defendant’s outrageous conduct.” Hughes v. Pair, 46 Cal.4th 1035, 1050 (2009)
(cleaned up). To be outrageous, the conduct “must be so extreme as to exceed all bounds of that
usually tolerated in a civilized society.” Trerice v. Blue Cross of Cal., 209 Cal.App.3d 878, 883
(1989); Fortson v. City of Los Angeles, 628 F.Supp.3d 976, 995 (C.D. Cal. 2022) (same).

         Here, the conduct plaintiff alleges to be outrageous includes Riot’s litigation conduct. (See
Dkt. 58, SAC at 3, 6, 8). Even if the claim was not barred by the litigation privilege, see Cal. Civ.
Code § 47(b); Cantu v. Resol. Tr. Corp., 4 Cal.App.4th 857, 888 (1992); Mogan v. Airbnb Inc.,
2023 WL 3841742, *5 (C.D. Cal. 2023) (“The privilege extends to claims for intentional infliction
of emotional distress.”), the alleged conduct cannot be deemed extreme or outrageous. See, e.g.,
Cantu, 4 Cal.App.4th at 888 (“Where . . a party acts in good faith to pursue its own legal rights,
such conduct is privileged, even if emotional distress will result.”); Moncada v. West Coast Quartz
Corp., 221 Cal.App.4th 768, 781 (2013) (“While the allegations of defendants’ conduct if true,
demonstrate a callous disregard for plaintiffs' professional and personal well-being, the alleged
conduct as stated is not extreme or outrageous to support a cause of action for intentional
infliction of emotional distress.”). As such, the Motion will be granted as to this claim as well.

V.       LEAVE TO AMEND.

        Rule 15 provides that the court “should freely give leave [to amend] when justice so
requires.” Fed. R. Civ. P. 15(a)(2); see Morongo Band of Mission Indians v. Rose, 893 F.2d 1074,
1079 (9th Cir. 1990) (The policy favoring amendment must “be applied with extreme liberality.”).
However, “[i]t is settled that the grant of leave to amend the pleadings pursuant to Rule 15(a) is
within the discretion of the trial court.” Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321,
330, 91 S.Ct. 795, 802 (1971).

        Here, having liberally construed the allegations in the SAC, the court is persuaded that
plaintiff’s claims cannot be saved through amendment. See Lopez v. Smith, 203 F.3d 1122, 1129
(9th Cir. 2000) (“Courts are not required to grant leave to amend if a complaint lacks merit
entirely.”). Plaintiff has filed three iterations of his complaint, (see Dkt. 1-1, Complaint); (Dkt. 11,
FAC); (Dkt. 58, SAC), the last of which was filed after the court granted his motion to amend,
following defendant’s motion to dismiss the FAC. (See Dkt. 52, Court’s Order of February 18,
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                                 Page 5 of 6
  Case 2:25-cv-00053-FMO-BFM          Document 139        Filed 05/12/25     Page 6 of 6 Page ID
                                           #:4922
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       CV 25-0053 FMO (BFMx)                               Date     May 12, 2025
 Title          Marc Wolstenholme v. Riot Games, Inc.

2025, at 1). Moreover, despite the SAC’s 1,218 pages (including voluminous exhibits), (see Dkt.
58, SAC), and the Opposition’s 650-plus pages (including voluminous exhibits), (see Dkt. 83,
Opposition), plaintiff has failed to state a claim. Under the circumstances, it would be futile to
afford plaintiff a fourth opportunity to state a claim. See Cafasso, United States ex rel. v. Gen.
Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058 (9th Cir. 2011) (“The district court’s discretion to
deny leave to amend is particularly broad where plaintiff has previously amended the complaint.”)
(cleaned up).

     This Order is not intended for publication. Nor is it intended to be included in or
submitted to any online service such as Westlaw or Lexis.

         Based on the foregoing, IT IS ORDERED THAT:

       1. Defendant’s Motion (Document No. 80) is granted. The SAC is dismissed with
prejudice.

         2. Judgment shall be entered accordingly.

         3. All pending motions, requests, or applications are denied as moot.




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                                                      Initials of Preparer           vdr




CV-90 (06/04)                          CIVIL MINUTES - GENERAL                              Page 6 of 6
